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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


                                                          )
 In re:                                                   ) Chapter 11 (Subchapter V)
                                                          )
 FREE SPEECH SYSTEMS, LLC,                                ) Case No. 22-60043 (CML)
                                                          )
                         Debtor.                          )
                                                          )

                                                          )
 In re:                                                   ) Chapter 11
                                                          )
 ALEXANDER E. JONES,                                      ) Case No. 22-33553 (CML)
                                                          )
                         Debtor.                          )
                                                          )

              THE OFFICIAL COMMITTEE OF UNSECURED
  CREDITORS’ WITNESS AND EXHIBIT LIST FOR HEARING SCHEDULED FOR
                 FEBRUARY 28, 2023, AT 9:00 A.M. (CST)

          The Official Committee of Unsecured Creditors of Alexander E. Jones (the “Committee”)

appointed in the chapter 11 case of Alexander E. Jones, Case No. 22-33553 (CML), respectfully

files its Witness and Exhibit List for the hearing of the above-captioned chapter 11 cases to be held

on February 28, 2023, at 9:00 A.M. (Central Standard Time) and that may be adjourned or

continued from time to time by the Court (the “Hearing”) as follows:

                                           WITNESSES

          The Committee may call the following witnesses at the Hearing:

                 1.     Any witness listed or called by any other party;

                 2.     Rebuttal witnesses as necessary; and

                 3.     The Committee reserves the right to cross-examine any witness called by
                        any other party.
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The Committee does not presently intend to offer testimony from any witness, but reserves the

right to do so. The Committee reserves the rights to cross-examine any witness identified by any

other party and to call any other party’s witness as a rebuttal witness.

                                            EXHIBITS

       The Committee may offer into evidence one or more the following exhibits at the Hearing:

               1.      Any document or pleading filed in the above-captioned case;

               2.      Any exhibit necessary for impeachment and/or rebuttal purposes; and

               3.      Any exhibit identified or offered by any other party.

                                 RESERVATION OF RIGHTS

       The Committee reserves all rights, including, but not limited to, the right to amend, revise,

or supplement this witness and exhibit list at any time, to designate additional witnesses and

exhibits, to call any person identified as a witness by any other party in interest or introduce any

document identified as an exhibit by any other party in interest, and to offer additional witnesses

and exhibits at the Hearing for purposes of impeachment, rebuttal, in response to witnesses and

evidence offered by any other party, and for any other permissible purpose under the Federal Rules

of Bankruptcy Procedure and the Federal Rules of Evidence.

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Dated: February 24, 2023           Respectfully submitted,

                                   By: /s/ Marty L. Brimmage, Jr.

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                                   -and-

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                                   Proposed Counsel to the Official Committee of
                                   Unsecured Creditors of Alexander E. Jones




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                                CERTIFICATE OF SERVICE

        I certify that on February 24, 2023, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                            /s/ Marty L. Brimmage, Jr.
                                                            Marty L. Brimmage, Jr.




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